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                    IN THE DISTRICT COURT OF THE UNITED STATES
                        FOR THE MIDDLE DISTRICT OF ALABAMA
                                 NORTHERN DIVISION

JOHN MICHAEL PERRYMAN, II,                 )
                                           )
       Plaintiff,                          )
                                           )
       v.                                  )   CIVIL ACTION NO. 2:20-CV-709-RAH
                                           )
SONJA PRITCHETT,                           )
                                           )
       Defendant.                          )

                                       ORDER

        On January 5, 2021, the Magistrate Judge entered a Recommendation (Doc. #19)

 to which no timely objections have been filed. After an independent review of the file

 and upon consideration of the Recommendation, it is ORDERED that:

       1. The Recommendation of the Magistrate Judge is ADOPTED;

       2. This case is DISMISSED with prejudice for Plaintiff’s failure to comply with an

order of this court and because Defendant is not liable for the alleged unconstitutional acts

of her subordinates or co-workers on the basis of respondeat superior or vicarious liability;

       3. Other than the filing fee assessed to Plaintiff in this case, no costs are taxed.

       A separate Final Judgment will be entered.

       DONE, on this the 25th day of May, 2021.


                                           /s/ R. Austin Huffaker, Jr.
                                    R. AUSTIN HUFFAKER, JR.
                                    UNITED STATES DISTRICT JUDGE
